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 1                         UNITED STATES DISTRICT COURT
 2                               DISTRICT OF NEVADA
 3
      UNITED STATES OF AMERICA,                 Case No. 3:15-cr-00061-HDM-WGC
 4
                               Plaintiff,
 5          v.                                  ORDER
 6    EDWARD SMITH,
 7                             Defendant.
 8
            The court has been advised that the defendant’s appellate
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      counsel is in the process of assembling all case materials in his
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      possession in order to provide the file to the defendant. (ECF No.
11
      930). As such, the defendant’s request for his case file from
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      appellate counsel or, in the alternative, from the reporter, (ECF
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      No. 927) is DENIED. Should the defendant require any additional
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      materials to prepare his 28 U.S.C. § 2255 motion after receiving
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      his file from appellate counsel and he is able to specify those
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      documents, the defendant may file further motions seeking those
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      specific documents and the court will entertain those motions at
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      that time.
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            To the extent the defendant seeks leave to proceed in forma
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      pauperis (ECF No. 928), the motion is DENIED as unnecessary. To
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      the extent the defendant seeks to establish indigency in order to
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      obtain the record free of charge, the motion is DENIED AS MOOT.
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            IT IS SO ORDERED.
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            DATED: This 11th day of January, 2021.
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27                                      UNITED STATES DISTRICT JUDGE
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